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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

   MARK FITZHENRY, on behalf of himself
   and others similarly situated,

            Plaintiff,

   v.                                                     Civil Action No. 14-cv-80180-DMM

   THE ADT CORPORATION (f/k/a ADT
   Security Services, Inc.) and SECURITY
   SOLUTIONS, INC.,

            Defendants.


                                 Stipulation of Dismissal with Prejudice

            Under Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, all parties to this

   action stipulate to the dismissal, with prejudice, of all claims set forth in the Complaint. The

   parties recognize that the Court has denied Plaintiff’s Motion for Class Certification and granted

   Defendants’ motion to deny class certification of the class alleged in the Complaint, state that no

   payment has been made to the Plaintiff, and accordingly stipulate to dismissal of this action with

   prejudice as against all defendants, with each party to bear its own fees and costs.

            Stipulated: November 5, 2014                  Respectfully submitted,




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